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 Pro Sc 1 (Rev. 12/16) Complaint for a Civil Case



                                         United States District Court-s-                                        A
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                                                                                                                       ^             I



                                                                       for the

                                                                      District of                          im

                                                                              Division                     [




                                                                          )      Case No.

                                                                          )                    (to befilled in by the ClerkOffice)
                                                     6?x-                 )
                           Pkiinlijf(s)                                   )
 (Write thefull name ofeach plaintiff'who isfiling this complaint.        )                                    Yes         No
 Ifthe names ofall the plaintiff's cannotfit in the space above.
                                                                                 Jury Trial: (check one)
 plea.se write "see attached" in the space and attach an additional       )
 page with thefull list ofnames.)                                         )
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                                                                          )                 CV120- 149
i^ickmoacl Cooilru fcoord-c-C ElxlAi                          \0V
                                                                          )
                                                                          )
                              Drfendant(s)
 (Write thefull name ofeach defendant who is being .sued. Ifthe
                                                                          )
 names ofall the defendants cannotfit in the .space above, please         )
 write "see attached" in the space and attach an additional page          )
 with thefull list ofnames.)



                                                    COMPLAINT FOR A CIVIL CASE


 I.         The Parries to This Complaint
            A.        The PIaintiff(s)

                       Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                       needed.
                                                                     rr
                                 Name

                                  Street Address

                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                 E-mail Address



            B.         The Defendant(s)

                       Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                       individual, a government agency, an organization, or a corporation. For an individual defendant,
                       include the person's job or title (ifknown). Attach additional pages if needed.


                                                                                                                                         Page I of 5
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                     Defendant No. 1

                                Name

                                Job or Title (ifknown)
                                 Street Address

                                City and County
                                 State and Zip Code                'oCA.ot
                                Telephone Number
                                                            (m)Nitb- toco
                                 E-mail Address (ifknown)


                      Defendant No. 2

                                 Name

                                 Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 3

                                 Name

                                 Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 4

                                 Name

                                 Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)




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II.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is tl^basis for federal court jurisdiction? (check all that apply)
                       Federal question                                Diversity of citizenship


           Fill out the paragraphs in this section that apply to this case.

           A.        If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, arid/or provisions of the United States Constitution that
                      are at issue in this case.




                    © Ec^uol                       (Iti:
           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)                                                 is a citizen of the

                                            State of(name)


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                                ,is incorporated
                                            under the laws of the State of(name)

                                            and has its principal place of business in the State of(name)



                                (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                                same informationfor each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual

                                            The defendant, (name)                                                , is a citizen of
                                            the State of(name)                                              . Or is a citizen of

                                           (foreign nation)


                                                                                                                             Page 3 of 5
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                                b.         If the defendant is a corporation
                                           The defendant, (name)                                            ,is incorporated under
                                           the laws of the State of(name)                                             , and has its

                                           principal place of business in the State of(name)
                                           Or is incorporated under the laws of(foreign nation)
                                           and has its principal place of business in (name)


                                (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                                same informationfor each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain)-.




III.       Statement of Claim


           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.        Relief


           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.



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V.         Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, infonnation,
           and belief that this complaint:(1) is not being presented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase the cost of litigation;(2) is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
           requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
                      served. 1 understand that my failure to keep a current address on file with the Clerk’s Office may result
                      in the dismissal of my case.


                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff
                                                                I               1.
           B.         For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number

                      Name of Law Firm

                      Street Address

                      State and Zip Code
                      Telephone Number
                      E-mail Address




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                                                         10/19/2020




                       III Statement of Claim


   IJamal Edward VerdreeSr. has been employed with the Board
of Education for 9 years. I was injured on the job on August
27,2018. In January 2019 while under Doctor care, I received a
letter of Admonisment and Transfer stating that I was being
demoted. In result, I lost my Supervisor position and I recieved a
pay cut.

                           IV Relief


   I, Jamal Edward Verdree Sr., is asking the court to order relief
from the Board of Education in the sum of 75,000 dollars and my
position back as Head Custodian; on the basis of the Equal Pay Act
and Title VII, The Americans with Disabilities Act.




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    CLERK, U.S. DISTRICT COURT
         POST OFFICE BOX 1130

       AUGUSTA,GEORGIA 30903

           OFFICIAL BUSINESS




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